Case:14-08561-MCF13 Doc#:99 Filed:10/24/17 Entered:10/24/17 10:51:03   Desc: Main
                           Document Page 1 of 6
Case:14-08561-MCF13 Doc#:99 Filed:10/24/17 Entered:10/24/17 10:51:03   Desc: Main
                           Document Page 2 of 6
Case:14-08561-MCF13 Doc#:99 Filed:10/24/17 Entered:10/24/17 10:51:03   Desc: Main
                           Document Page 3 of 6
Case:14-08561-MCF13 Doc#:99 Filed:10/24/17 Entered:10/24/17 10:51:03   Desc: Main
                           Document Page 4 of 6
Case:14-08561-MCF13 Doc#:99 Filed:10/24/17 Entered:10/24/17 10:51:03   Desc: Main
                           Document Page 5 of 6
Case:14-08561-MCF13 Doc#:99 Filed:10/24/17 Entered:10/24/17 10:51:03   Desc: Main
                           Document Page 6 of 6
